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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF VIRGINIA
                                      Alexandria Division

 ROSY GIRON DE REYES; JOSE
 DAGOBERTO REYES; FELIX ALEXIS
 BOLANOS; RUTH RIVAS; YOVANA
 JALDIN SOLIS; ESTEBAN RUBEN MOYA
 YRAPURA; ROSA ELENA AMAYA; and
 HERBERT DAVID SARAVIA CRUZ,
                                                        Civil Action No. 1:16cv00563-TSE-TCB
                 Plaintiffs,

         vs.

 WAPLES MOBILE HOME PARK LIMITED
 PARTNERSHIP; WAPLES PROJECT
 LIMITED PARTNERSHIP; and A.J.
 DWOSKIN & ASSOCIATES, INC.,

                 Defendants.


            PLAINTIFFS’ REPLY TO DEFENDANTS’ SUPPLEMENTAL BRIEF

         The Court’s April 7, 2020 Order (ECF No. 273, the “Order”) posed two questions: 1)

 “Does this Order identify the correct questions [i.e., whether the policy’s disproportionate impact

 on Latinos is justified because the Policy serves a valid interest that could not be served by another

 practice with a less discriminatory effect] on remand?”; and (2) “Are the questions that remain

 jury issues or questions for the Court to resolve on summary judgment?” Order at 4, 5. The

 answers are straightforward: (1) yes, but Defendants must show a “business necessity,” and not

 just a “valid interest”; and (2) they are jury issues, because Plaintiffs have identified disputed issues

 of material fact going to the core of steps 2 and 3 of the Inclusive Communities framework. See

 generally Plaintiffs’ Supplemental Brief (ECF No. 274).

         To avoid these answers, Defendants renew a series of elaborate arguments that they have

 raised—and lost—before. Plaintiffs respectfully request that the Court reject those arguments


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 again, and deny Defendants’ Motion for Summary Judgment (ECF No. 247, the “Summary

 Judgment Motion”).

                                             ARGUMENT

 I.      DEFENDANTS IGNORE THE FOURTH CIRCUIT’S HOLDING THAT
         PLAINTIFFS SATISFIED THEIR BURDEN UNDER STEP ONE

         First, in arguing that the Fourth Circuit did not conclusively resolve whether Plaintiffs had

 met their burden under step one of the Inclusive Communities framework, Defendants ignore the

 Fourth Circuit’s findings to the contrary. As this Court recognized, Order at 3-4, the Fourth Circuit

 held that, “under these facts, Plaintiffs have satisfied their burden under step one of the burden-

 shifting framework to make a prima facie showing of disparate impact. It is for the district court

 to determine in the first instance whether Plaintiffs have satisfied the additional steps in this inquiry

 and, thus, whether Waples’ Policy requiring occupants to provide documentation evincing legal

 status violated the FHA by disproportionately impacting Latinos.” Reyes v. Waples Mobile Home

 Park L.P, 903 F.3d 415, 433 n.12 (4th Cir. 2018). Defendants do not even attempt to square this

 holding with their assertion that it is for this Court to decide whether Plaintiffs have satisfied step

 one of the Inclusive Communities framework. See generally D. Supp. Br. Taking the Fourth

 Circuit’s holding into account, however, it is clear that the only question for this Court to decide

 on remand is whether summary judgment is appropriate at steps two and three of the Inclusive

 Communities framework (it is not, see Opposition to Motion for Summary Judgment (ECF No.

 260, the “Summary Judgment Opposition”) at 20-30). 1



 1
    Defendants offer a convoluted theory involving the difference between Rule 12(b)(6) and Rule
 56 to argue that “the Fourth Circuit did not actually decide any summary-judgment issues at all.”
 D. Supp. Br. at 12. But the Fourth Circuit plainly understood the difference between Rule 12(b)(6)
 (“At the motion to dismiss stage, we must accept all well-pled facts as true . . . accepting these
 statistics as true, we conclude that the Plaintiffs sufficiently alleged a prima facie case of disparate


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 II.    DEFENDANTS ADD A “THRESHOLD INQUIRY” TO THE INCLUSIVE
        COMMUNITIES FRAMEWORK WHERE NONE EXISTS

        Second, Defendants’ attempt to convert policy justifications and dicta from the Supreme

 Court’s opinion in Inclusive Communities into a “threshold inquiry” supplementing the three-step

 Inclusive Communities framework is profoundly mistaken. The Fourth Circuit laid out the

 standard under step one of the Inclusive Communities framework as follows: “Under the first step,

 the plaintiff must demonstrate a robust causal connection between the defendant’s challenged

 policy and the disparate impact on the protected class.” Reyes, 903 F.3d at 424. Yet Defendants

 continue to insist that the Court must instead decide whether “Defendants’ Policy [is] an ‘artificial,

 arbitrary, and unnecessary barrier’ to housing” and whether “the federal anti-harboring statute, 8

 U.S.C. § 1324 and the Fourth Circuit’s prior decision in United States v. Aguilar, 477 F. App’x

 1000 (4th Cir. 2012) . . . substantially limit Defendants’ discretion such that their Policy cannot,

 as a matter of law, be found to have caused a disparate impact[.]” D. Supp. Br. at 1. These

 arguments were rejected by the Fourth Circuit; thus, the Court should similarly reject them here.

        A.      The Court Need Not Find that the Policy Is an “Artificial, Arbitrary, and
                Unnecessary Barrier to Housing” to Find Plaintiffs Satisfied Step One

        As they have done previously,2 Defendants wrongfully claim that the Court must separately

 decide whether the Policy is an “artificial, arbitrary, and unnecessary barrier to housing” in order

 to find that Plaintiffs have made a prima facie case of disparate impact. D. Supp. Br. at 4-7. In


 impact”) and Rule 56 (“because we conclude that Plaintiffs submitted sufficient evidence of a
 prima facie case of disparate impact, the district court should have addressed the FHA claim under
 the disparate-impact theory of liability at the motion for summary judgment stage”). Reyes, 903
 F.3d at 428, 433. And when the Court wrote that “Plaintiffs have satisfied their burden under step
 one of the burden-shifting framework to make a prima facie showing of disparate impact,” id. at
 433 n.12, the Court clearly understood what that meant.
 2
   See S.J. Mot. at 13-14; Reply in Support of Summary Judgment (ECF No. 264, the “Summary
 Judgment Reply”) at 6; Br. of Appellees at 37-39, Reyes v. Waples Mobile Home Park L.P., No.
 17-1723 (4th Cir. Dec. 15, 2017), Doc. No. 50.

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 reality, these phrases are taken from the Supreme Court’s policy justifications underscoring that

 the three-part burden shifting analysis is adequate to fulfill the intent of the Federal Housing Act.

 See Tex. Dept. of Housing v. Inclusive Communities Project, Inc., 135 S.Ct. 2507, 2524 (2015)

 (“Governmental or private policies are not contrary to the disparate-impact requirement unless

 they are ‘artificial, arbitrary, and unnecessary barriers.’” (citations omitted)). In other words, if a

 policy fails the three-part test, then it is by definition “unnecessary,” “artificial,” “arbitrary”; if it

 meets the three-part test, it is not. That is why the Fourth Circuit did not separately address whether

 the Policy was “artificial, arbitrary, and unnecessary” in holding that Plaintiffs had established a

 prima facie case of disparate impact, see supra at 2: they simply did not need to do so, and neither

 does this Court.

         B.      The Defendants’ Argument Under the Anti-Harboring Statute Has Been
                 Raised and Rejected Before

         Similarly, Defendants once again assert the fallacy that the Court must decide whether the

 Immigration Reform and Control Act’s (“IRCA”) anti-harboring provision, 8 U.S.C. § 1324

 (a)(1)(A)(iii), “substantially limited their discretion” before finding that Plaintiffs had established

 a prima facie case of disparate impact. D. Supp. Br. at 7-10. 3 In the face of this exact same

 argument, the Fourth Circuit rightfully found that Plaintiffs had made a prima facie case of

 disparate impact, and this Court is bound to adhere to this ruling. In their appellate brief,

 Defendants argued that “[t]he district court’s finding that Plaintiffs cannot satisfy the requirements

 of Inclusive Communities also should be affirmed because federal ‘law’—here, the IRCA’s anti-



 3
      Defendants have raised the issue of the ICRA anti-harboring provision restricting their
 discretion to enforce the Policy at every turn, and it has proven unsuccessful. See, e.g., Petition
 for a Writ of Certiorari at 13-15, 21-23, Waples Mobile Home Park L.P. v. Reyes, Case No. 17-
 1723 (Mar. 15, 2019); Br. of Appellees at 33-35, Reyes v. Waples Mobile Home Park L.P., No.
 17-1723 (4th Cir. Dec. 15, 2017), Doc. No. 50. See also S.J. Mot. at 10-12; S.J. Reply at 6-8.

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 harboring provision, 8 U.S.C. § 1324(a)(1)(A)(iii)—substantially limits [Waples’] discretion in

 formulating its lease Policy.” Br. of Appellees at 33-35, Reyes v. Waples Mobile Home Park L.P.,

 No. 17-1723 (4th Cir. Dec. 15, 2017), Doc. No. 50 (internal quotations and citations omitted).

 Squarely confronted with this argument, the Fourth Circuit acknowledged certain scenarios that

 could sever the causal connection and preclude a plaintiff from making a prima facie case of

 disparate impact, including “when federal law ‘substantially limit[ed] the [defendant’s] discretion’

 in creating the policy.” Reyes, 903 F.3d at 433 426 (quoting Inclusive Communities, 135 S. Ct. at

 2524)). But the Fourth Circuit nonetheless found that Plaintiffs had satisfied their burden at both

 the motion to dismiss and summary judgment stages. See Reyes, 433 n.12; see also supra at 2. If

 the Defendants were correct that the ICRA’s anti-harboring provision essentially required them to

 enact the policy at issue in this litigation, then the entire Fourth Circuit opinion finding that

 Plaintiffs had made a prima facie case of disparate impact was nothing but an advisory opinion.

 United States v. McClure, 241 F. App’x 105, 107 (4th Cir. 2007) (“The Supreme Court has

 developed a number of constitutional justiciability doctrines from the text of Article III, Section 2,

 including the prohibition against advisory opinions . . . .”) (emphasis added). As such, Plaintiffs

 respectfully request that the Court put this issue to bed once and for all and reject Defendants’

 argument on this point on summary judgment.

 III.   DEFENDANTS MISSTATE THEIR BURDEN AT STEP TWO OF THE
        INCLUSIVE COMMUNITIES FRAMEWORK

        Third, far from “[moving] the legal goalposts” as Defendants contend, see D. Supp. Br. at

 16, that step two of the Inclusive Communities framework is the equivalent of Title VII’s business

 necessity standard is set forth in both Inclusive Communities itself and the Fourth Circuit’s

 decision. In Inclusive Communities, the Supreme Court stated:




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         An important and appropriate means of ensuring that disparate-impact liability is
         properly limited is to give housing authorities and private developers leeway to
         state and explain the valid interest served by their policies. This step of the analysis
         is analogous to the business necessity standard under Title VII and provides a
         defense against disparate-impact liability.

 Inclusive Communities, 135 S.Ct. at 2522. Similarly, the Fourth Circuit acknowledged that step

 two is “analogous to Title VII’s business necessity standard.” Reyes, 903 F.3d. at 424. All

 Defendants provide in the way of evidence that their “business interests” are in fact business

 necessities is a short, conclusory paragraph in their Supplemental Brief, which does not even

 attempt to engage the rigors of the business necessities standard. See D. Supp. Br. at 16. This is

 particularly striking given the evidence that Plaintiffs have put forward demonstrating that these

 “business interests” are nothing more than post hoc justifications for the Policy. See Opposition

 to Summary Judgment (ECF No. 260, “Summary Judgment Opposition”) at 21-22. Defendants’

 remaining arguments on the merits of these “business interests,” see D. Supp. Br. at 14-16; see

 also S.J. Mot. at 22-27; S.J. Reply at 11-15, and Plaintiffs’ previously-stated arguments refuting

 them, S.J. Opp. at 20-29, only serve to highlight that there are continuing disputes of fact to be

 resolved by the jury. 4 The same is true of Defendants’ arguments regarding step three of the

 Inclusive Communities framework. See S.J. Opp. at 29-30. For this reason, continuing disputes

 of fact preclude summary judgment, and require a trial to finally resolve.




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    The same is true of step three of the Inclusive Communities framework. As stated in Plaintiffs’
 prior briefing, Defendants’ entire course of conduct prior to enforcing the Policy as written is
 evidence that it is a less discriminatory alternative to the Policy. S.J. Opp. at 29-30. This is
 particularly true given that none of Defendants’ “business interests” appeared to be negatively
 impacted by it. For these reasons, there are at least continuing issues of fact as to whether Plaintiffs
 have satisfied step three of the burden shifting framework.

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                                          CONCLUSION

         For the foregoing reasons, and those set forth in Plaintiffs’ opening supplemental brief,

 see ECF No. 274, and in Plaintiffs’ Opposition, see ECF No. 260, Plaintiffs respectfully request

 that the Court deny Defendants’ Motion for Summary Judgment in its entirety and set this matter

 for a final pretrial conference.



 Respectfully submitted,


 _________________//s//__________________                     May 21, 2020
 LEGAL AID JUSTICE CENTER
 Simon Sandoval-Moshenberg, VSB #77110
 Nady Peralta, VSB #91630
 6066 Leesburg Pike, Suite 520
 Falls Church, VA 22041
 Phone: (703) 778-3450
 Fax: (703) 778-3454
 simon@justice4all.org
 nady@justice4all.org

 QUINN EMANUEL URQUHART &
 SULLIVAN, LLP
 Kaiyeu Kevin Chu, VSB #85746
 Matthew Traupman (pro hac vice)
 Gianna Puccinelli (pro hac vice)
 1300 I Street NW, Suite 900
 Washington, District of Columbia 20005
 Phone: (202) 538-8000
 Fax: (202) 538-8100
 kevinchu@quinnemanuel.com
 matthewtraupman@quinnemanuel.com
 giannapuccinelli@quinnemanuel.com

 Counsel for Plaintiffs




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                                        Certificate of Service

 I hereby certify that on this 21st day of May, 2020, I caused the foregoing to be filed electronically
 with the Clerk of the Court using CM/ECF, which will then send a notification of such filing to all
 counsel of record.



 _________________//s//__________________              Dated: May 21, 2020
 Simon Sandoval-Moshenberg (VSB No. 77110)
 simon@justice4all.org
 LEGAL AID JUSTICE CENTER
 6066 Leesburg Pike, Suite 520
 Falls Church, VA 22041
 Tel: (703) 720-5605
 Fax: (703) 778-3454




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